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                 4                                  UNITED STATES DISTRICT COURT
                 5                                            DISTRICT OF NEVADA
                 6                                                      ***
                 7       UNITED STATES OF AMERICA,                              Case No. 2:09-CR-262 JCM (GWF)
                 8                                              Plaintiff(s),                    ORDER
                 9              v.
               10        ADRIAN FUENTES-GARCIA, et al.,
               11                                             Defendant(s).
               12
               13              Presently before the court is the case of United States of America v. Adrian Fuentes-Garcia,
               14       case number 2:09-cr-00262-JCM-GWF-2.
               15              On September 23, 2015, the parties filed a joint stipulation for sentence reduction pursuant
               16       to 18 U.S.C. § 3582(c)(2). (Doc. # 377). The parties have reached an agreement concerning a
               17       discretionary sentence reduction for defendant Adrian Fuentes-Garcia.
               18              Included in the joint stipulation is a declaration from the defendant consenting to the entry
               19       of an amended sentence and setting forth the appropriate waivers. (Doc. # 377). The joint
               20       stipulation also contains a certification by defense counsel that counsel has communicated with
               21       the defendant and that the defendant consents to the proposed resolution. Finally, the joint
               22       stipulation sets forth the amended guidelines sentencing range as calculated by the parties and an
               23       agreement to a particular sentence.
               24              Accordingly,
               25              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the parti
               26       stipulation (doc. # 377) be, and the same hereby is, GRANTED. Defendant Adrian Fuentes-Garcia
               27       shall receive the agreed upon sentence reduction pursuant to 18 U.S.C. § 3582(c)(2).
               28

James C. Mahan
U.S. District Judge
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                2                                                              August 27, 2010, are to remain
                3                                                                      ember 1, 2015.
                4           DATED October 9, 2015.
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                                                            __________________________________________
                6                                           UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                           -2-
